                       Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                     DistrictDistrict
                                                __________    of Puerto  Rico
                                                                      of __________

                     GILBERTO VELEZ                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 3:24-CV-01047 (CVR)
                                                                 )
        UNITED STATES GOVERNMENT                                 )
   ALEJANDRO N. MAYORKAS IN HIS OFFICIAL
                                                                 )
      CAPACITY AS SECRETARY OF THE
    DEPARTMENT OF HOMELAND SECURITY                              )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ALEJANDRO N. MAYORKAS
                                       SECRETARY OF U.S. DEPARTMEMT OF HOMELAND SECURTY
                                       WASHINGTON DC 2058




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       JOSE AGUSTIN ARCE-DIAZ LAW OFFICE
                                       PO BOX 270-157
                                       SAN JUAN PUERTO RICO 00928
                                       TEL. 787-647-7007
                                       EMAIL: jag.arcediaz@gmail.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           Ada I. García Rivera, Esq., CPA
                                                                           CLERK OF COURT
                                                                                                       Digitally signed by Viviana Rivera
                                                                                                       Godoy
                                                                                                       Date: 2024.02.15 09:12:38 -04'00'
Date:           02/15/2024
                                                                                      Signature of Clerk or Deputy Clerk
                        Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:24-CV-01047 (CVR)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                     DistrictDistrict
                                                __________    of Puerto  Rico
                                                                      of __________

                     GILBERTO VELEZ                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 3:24-CV-01047 (CVR)
                                                                 )
        UNITED STATES GOVERNMENT                                 )
   ALEJANDRO N. MAYORKAS IN HIS OFFICIAL
                                                                 )
      CAPACITY AS SECRETARY OF THE
    DEPARTMENT OF HOMELAND SECURITY                              )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STEPHEN MULDROW,
                                       UNITED STATES ATTORNEY FOR THE DISTRICT OF PUERTO RICO
                                       Torre Chardón, Suite 1201
                                       San Juan, P.R. 00918




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       JOSE AGUSTIN ARCE-DIAZ LAW OFFICE
                                       PO BOX 270-157
                                       SAN JUAN PUERTO RICO 00928
                                       TEL. 787-647-7007
                                       EMAIL: jag.arcediaz@gmail.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           Ada I. García Rivera, Esq., CPA
                                                                           CLERK OF COURT
                                                                                                       Digitally signed by Viviana Rivera
                                                                                                       Godoy
                                                                                                       Date: 2024.02.15 09:12:50 -04'00'
Date:            02/15/2024
                                                                                      Signature of Clerk or Deputy Clerk
                        Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:24-CV-01047 (CVR)

                                                     PROOF OF SERVICE
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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                     DistrictDistrict
                                                __________    of Puerto  Rico
                                                                      of __________

                     GILBERTO VELEZ                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 3:24-CV-01047 (CVR)
                                                                 )
        UNITED STATES GOVERNMENT                                 )
   ALEJANDRO N. MAYORKAS IN HIS OFFICIAL
                                                                 )
      CAPACITY AS SECRETARY OF THE
    DEPARTMENT OF HOMELAND SECURITY                              )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MERRICK GARLAND
                                       ATTORNEY GENERAL OF THE UNITED STATES
                                       950 Pennsylvania Avenue, NW
                                       Washington, DC 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                       JOSE AGUSTIN ARCE-DIAZ LAW OFFICE
                                       PO BOX 270-157
                                       SAN JUAN PUERTO RICO 00928
                                       TEL. 787-647-7007
                                       EMAIL: jag.arcediaz@gmail.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           Ada I. García Rivera, Esq., CPA
                                                                           CLERK OF COURT
                                                                                                       Digitally signed by Viviana
                                                                                                       Rivera Godoy
                                                                                                       Date: 2024.02.15 09:13:03 -04'00'
Date:          02/15/2024
                                                                                      Signature of Clerk or Deputy Clerk
                        Case 3:24-cv-01047-CVR Document 6 Filed 02/15/24 Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:24-CV-01047 (CVR)

                                                     PROOF OF SERVICE
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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
